Case 2:05-cr-20177-SH|\/| Document 91 Filed 06/27/05 Page 1 of 2 Page|D 85

HUI)DY__ ,m_DC.

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05`HH¢27 PH 3;|~
WESTERN DIVISION

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UNITED sTATEs oF AMERICA, W-D- viz TN. l'-'»=~'\FH|S
vs. No. 05-20177-Ma/A

TAVARIS BOOTHE,

Defendant.

 

ORDER ALLOWING COUNSEL TO WITHDRAW

 

Before the court is the June 20, 2005, motion of Pamela
Hamrin, counsel for Tavaris Boothe, requesting that she be
allowed to withdraw as counsel for the defendant. Good cause
having been shown, the motion is granted and Ms. Hamrin is
allowed to withdraw. The defendant has previously been
determined to be indigent. The magistrate judge is therefore

directed to appoint replacement counsel for defendant from the

court's CJA Pro Bono Panel.

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It is so ORDERED this day of June, 2005.

J///w`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

